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             fl",/a/ -/) G{- /1// ,Eo,/D /e tlotaD t{ :/ou
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            o/ fo - o{ o,( /0-og o{ 2o/l 7 c,ty'5
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